      Case 2:15-cv-01045-RFB-BNW Document 282-9 Filed 08/31/16 Page 1 of 1


From:                Patrick Madden
To:                  Perry Grossman; Joseph Saveri; Michael Dell"Angelo; Brown, Ben (bbrown@cohenmilstein.com)
                     (bbrown@cohenmilstein.com); Robert C. Maysey (rmaysey@WarnerAngle.com); Kevin Rayhill; Matthew Weiler;
                     tkitzman@cohenmilstein.com; dsilverman@cohenmilstein.com; Eric Cramer; Richard A. Koffman
Cc:                  jcw@campbellandwilliams.com; Marcy Norwood Lynch; William A. Isaacson; Nicholas Widnell; Stacey Grigsby;
                     Suzanne Jaffe Nero
Subject:             [Le et al. v. Zuffa] Subpoena to be Served
Date:                Thursday, July 28, 2016 1:32:06 PM
Attachments:         Mercer Subpoena and Schedule A - final.pdf



Counsel:

Please take notice that we will be serving the attached subpoena.




Patrick F. Madden
Berger&Montague,P.C.
1622 Locust Street
Philadelphia, PA 19103
direct: 215.875.3035
pmadden@bm.net
bergermontague.com

Twitter| LinkedIn| Facebook
Signup for our e-newsletter
